Case 8:19-cv-01257-JFW-PJW Document 36-2 Filed 08/30/19 Page 1 of 2 Page ID #:251




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                            UNITED STATES DISTRICT COURT
 10
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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      Bryce Abbink, individually and on             Case No. 8:19-cv-01257-JFW-PJW
 13
      behalf of all others similarly situated,
 14                                                 [PROPOSED] ORDER GRANTING
                                                    JOINT STIPULATION TO EXTEND
 15                              Plaintiff,
                                                    THE DEADLINE TO FILE
 16                                                 PLAINTIFF’S MOTION FOR CLASS
      v.
                                                    CERTIFICATION
 17
      Experian Information Solutions, Inc.,
 18                                          Hon. John F. Walter
      an Ohio corporation, Lend Tech
 19   Loans, Inc., a California corporation,
                                             Complaint filed: June 21, 2019
      and Unified Document Services, LLC,
 20   a California Limited Liability
 21   Company,
 22                              Defendant.
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 28   [PROPOSED] ORDER GRANTING JOINT         -1-
      STIPULATION RE: CLASS
      CERTIFICATION DEADLINE
Case 8:19-cv-01257-JFW-PJW Document 36-2 Filed 08/30/19 Page 2 of 2 Page ID #:252




  1         The Court, having considered the stipulation of Plaintiff Bryce Abbink
  2   (“Plaintiff”) and Defendant Experian Information Solutions, Inc. (“Experian”) to
  3   extend the deadline to file Plaintiff’s Motion for Class Certification, the declaration
  4   of Taylor T. Smith in support of the stipulation, and for good cause appearing,
  5   hereby orders that Plaintiff shall file his Motion for Class Certification on or before
  6   January 30, 2020.
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  8   IT IS SO ORDERED.
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 11   Date: ___________________               ______________________________
                                              Hon. John F. Walter
 12                                           United States District Judge
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 28   [PROPOSED] ORDER GRANTING JOINT       -2-
      STIPULATION RE: CLASS
      CERTIFICATION DEADLINE
